                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ABINGDON DIVISION

  UNITED STATES OF AMERICA                    )
                                              )
                                              )   Criminal Case # 1:18CR00019-2
  V.                                          )
                                              )
  CHRISTOPHER INGRAM                          )


                     ORDER DIRECTING U.S. TO MAINTAIN CUSTODY

        In compliance with 18 U.S.C. § 983(a)(3)(B), came this day the United States of America

 and moved the Court for an Order pursuant to 21 U.S.C. § 853(e)(1), permitting the Government

 to maintain custody of property already in its possession, $4,000.00 of $8,040.00 in U.S.

 Currency, for the duration of this proceeding.

        In consideration thereof, it appearing proper to do so, it is hereby ORDERED that the

 Government shall maintain possession of $4,000.00 of $8,040.00 in U.S. Currency, pending

 further Order of this Court.

        ENTERED THIS ______ DAY OF August, 2018.


                                              _____________________________________
                                               UNITED STATES DISTRICT JUDGE




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